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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                     Eastern District
                                                   __________         of of
                                                               District  New   York
                                                                            __________

GUIDO GONZALO AVILES MANAY, individually and                         )
     on behalf of all others similarly situated,                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                            Civil Action No. 25-cv-2218
                                                                     )
    KILLOWEN SOUTHSIDE LLC and KILLOWEN                              )
     WESTSIDE LLC d/b/a KEG & LANTERN and                            )
   KILLOWEN CONSTRUCTION INC. and KIERAN                             )
            BREEN, as an individual,                                 )
                           Defendant(s)                              )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) See attached rider.




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Helen F. Dalton & Associates, P.C.
                                           Roman Avshalumov, Esq.

                                           80-02 Kew Gardens Road, Suite 601

                                           Kew Gardens, NY 11415

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                 CLERK OF COURT


Date: 04/22/2025
                                                                                          Signature of Clerk or Deputy Clerk
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 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
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                                           RIDER TO SUMMONS

                                Civil Case No.: _______________________

                                       FULL COMPLAINT CAPTION:

    UNITED STATES DISTRICT COURT
    EASTERN DISTRICT OF NEW YORK
    ------------------------------------------------------------------------X         Civil Case No.:
    GUIDO GONZALO AVILES MANAY, individually and on
    behalf of all others similarly situated,
                                                                                  COLLECTIVE ACTION
                                                    Plaintiff,                       COMPLAINT
                -against-
                                                                                       JURY TRIAL
    KILLOWEN SOUTHSIDE LLC and KILLOWEN                                                DEMANDED
    WESTSIDE LLC d/b/a KEG & LANTERN and KILLOWEN
    CONSTRUCTION INC. and KIERAN BREEN, as an
    individual,

                                                    Defendants.
    --------------------------------------------------------------------------X

    via Personal Service:
    KILLOWEN SOUTHSIDE LLC d/b/a KEG & LANTERN
    104 South 4th Street, Brooklyn, NY 11249
    KILLOWEN WESTSIDE LLC d/b/a KEG & LANTERN
    97 Nassau Ave., Brooklyn, NY 11222
    KILLOWEN CONSTRUCTION INC.
    97 Nassau Ave., Brooklyn, NY 11222
    KIERAN BREEN
    97 Nassau Ave., Brooklyn, NY 11222

    Service via Secretary of State & Personal Service:
    KILLOWEN SOUTHSIDE LLC d/b/a KEG & LANTERN (DOS ID: 6600487)
    104 South 4th Street, Brooklyn, NY 11249
    KILLOWEN WESTSIDE LLC d/b/a KEG & LANTERN (DOS ID: 7289538)
    97 Nassau Ave., Brooklyn, NY 11222
    KILLOWEN CONSTRUCTION INC. (DOS ID: 4248797)
    97 Nassau Ave., Brooklyn, NY 11222




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